      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK


      JUAN CARLOS PENA BUSTAMANTE,                         Index No. 15-CV-4192
      individually and on behalfofothers similarly
      situated,

                               Plaintiff
                                                            STIPULATION
         -against-

       UNO CAFE & BILLIARDS INC.
      (d/b/a UNO CAFE & BILLIARDS),
      NY CANTAOKE INC.(d/b/a AMOR
      KARAOKE & BAR)and YANGKEY
      KIM,

                               Defendants.
                                                  -X


   IT IS HEREBY STIPULATED and agreed, by and between the undersigned attorneys for the parties, that a

judgment in the amount of twenty thousand dollars ("$20,000"), consisting of attorneys' fees and costs, shall be

entered in favor of plaintiff JUAN CARLOS PENA BUSTAMANTE against defendants UNO CAFE &

BILLIARDS INC. (d/b/a UNO CAFE & BILLIARDS), NY CANTAOKE INC. (d/b/a AMOR KARAOKE &

BAR)and YANGKEY KIM,jointly and severally.

Dated:        New York, New York
              June 26,2018




 Gregory Nicholas Filosa                                esse Barton, Esq.
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